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            IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF TEXAS
                      EL PASO DIVISION

DANIEL VILLEGAS,                      §
    Plaintiff,                        §
                                      §
v.                                    §                EP-15-CV-386-PRM
                                      §
CITY OF EL PASO,                      §
ALFONSO MARQUEZ,                      §
CARLOS ORTEGA, SCOTT                  §
GRAVES, KEMMITT                       §
BELLOWS, EARL                         §
ARBOGAST, RAY                         §
SANCHEZ, HECTOR LOYA,                 §
and UNKNOWN                           §
EMPLOYEES OF THE                      §
CITY OF EL PASO,                      §
    Defendants.                       §

            ORDER REQUIRING NEW PROPOSED
     SCHEDULING ORDER AND CASE MANAGEMENT REPORT

      Considering the status of the above-captioned cause, the Court is of

the opinion that Plaintiff shall confer with Defendants in order to jointly

file a new proposed scheduling order for the Court’s consideration by April

2, 2020.
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     Additionally, to assist the Court, it is hereby ordered that the parties

shall develop a new joint Case Management Report by April 2, 2020,1

which contains the following:

1.      The parties who assisted in developing the Case Management
        Report and all attorneys of record for each respective party;

2.      A list of the parties in the case, including any parent corporations
        or entities (for recusal purposes);

3.      A short statement of the nature of the case (one page or less),
        including a description of the claims and defenses;

4.      The jurisdictional basis for the case, describing the basis for
        jurisdiction and citing specific jurisdictional statutes;2

5.      A list of the parties that have not been served and an explanation
        of why they have not been served; and any parties which have
        been served but have not answered or otherwise appeared;

6.      A statement of whether any party expects to add additional
        parties to the case or otherwise to amend pleadings;3

7.      A listing of contemplated motions and a statement of the issues to
        be decided by these motions (including motions under Federal
        Rules of Evidence 702, 703, 704, and 705);4

1 The parties’ joint Case Management Report shall contain the required
information in separately numbered paragraphs.

2 If jurisdiction is based on diversity of citizenship, the report shall
include a statement of the citizenship of every party and a description of
the amount in dispute. See 28 U.S.C. § 1332.

3 Pursuant to Rule 16(b)(3), the Proposed Scheduling Order must
include a time limit to join other parties and amend pleadings.

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8.     A statement of when the parties exchanged Federal Rule of Civil
       Procedure 26(a) initial disclosures; 5

9.     Pursuant to Rule 26(f), a statement outlining necessary discovery,
       including:

          a.       A list of critical witnesses for each side; and

          b.       A timeline in which the depositions of these witnesses
                   will take place;

          c.       Any issues about disclosure, discovery, or preservation
                   of electronically stored information, including the form
                   or forms in which it should be produced; and

          d.       Any issues about claims of privilege or of protection as
                   trial-preparation material.

10.    The status of related cases pending before other courts;

11.    A statement of whether either party has requested a jury trial, the
       estimated length of trial, and any suggestions for expediting the
       trial date;

12.    The prospects for settlement, including any request of the Court
       for assistance in settlement efforts; and a proposed specific date
       by which the parties shall have engaged in face-to-face, good-faith
       settlement talks;

13.    Any other matters that will aid the Court and parties in resolving
       this case in a just, speedy, and inexpensive manner as required by
       Federal Rule of Civil Procedure 1;


4 Pursuant to Rule 16(b)(3), the Proposed Scheduling Order must
include a time limit to complete discovery.

5 Pursuant to Rule 16(b)(3), the Proposed Scheduling Order must
include a time limit to file motions.
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14.      A statement on whether the parties jointly consent to trial before
         a United States Magistrate Judge; if so, please jointly complete
         and file Form AO 85.6

      Accordingly, IT IS ORDERED that Plaintiff must confer with

Defendants to JOINTLY FILE a NEW PROPOSED SCHEDULING

ORDER for the Court’s consideration by April 2, 2020. The Court will

set the trial date.

      IT IS FURTHER ORDERED that the parties shall, separate and

apart from the Proposed Scheduling Order, JOINTLY FILE the NEW

CASE MANAGEMENT REPORT—as outlined in this Order—by no

later than April 2, 2020. It is the responsibility of the parties to assist in

preparation of the Scheduling Order and Case Management Report.

      SIGNED this 3rd day of March, 2020.



                            _________________________ ___________
                            PHILIP R. MARTINEZ
                            UNITED STATES DISTRICT JUDGE




6For the parties’ convenience, the Court has attached Form AO 85
“Notice, Consent, and Reference of a Civil Action to a Magistrate
Judge.”
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